Case 1:22-cv-00311-CFC Document 19 Filed 07/25/22 Page 1 of 33 PageID #: 808



               IN THE UNITED STATES DISTRICT COURT
                    FOR DISTRICT OF DELAWARE


IMPOSSIBLE FOODS INC.,                        )   CASE NO.: 1:22-cv-00311-CFC
                                              )
             Plaintiff,                       )   FIRST AMENDED
                                              )   COMPLAINT FOR DAMAGES
      v.                                      )   AND INJUNCTIVE RELIEF
                                              )
MOTIF FOODWORKS, INC.,                        )
                                              )   JURY TRIAL DEMANDED
             Defendant.                       )
                                              )


      Plaintiff Impossible Foods Inc. (“Impossible Foods”) brings this First

Amended Complaint against defendant Motif FoodWorks, Inc. (“Motif” or

“Defendant”) and alleges, on personal knowledge as to its own actions and on

information and belief as to the actions of others, as follows:

                                  THE PARTIES

      1.     Plaintiff Impossible Foods is a Delaware corporation with its

principal place of business at 400 Saginaw Drive, Redwood City, California.

Impossible Foods develops and distributes plant-based meat products, including

the well-known IMPOSSIBLE BURGER, IMPOSSIBLE SAUSAGE and

IMPOSSIBLE MEATBALLS (“IMPOSSIBLE Products”).

      2.     Defendant Motif is a Delaware corporation with its principal place of

business at 27 Drydock Avenue, Boston, Massachusetts. Defendant advertises




                                          1
Case 1:22-cv-00311-CFC Document 19 Filed 07/25/22 Page 2 of 33 PageID #: 809




itself as a provider of plant-based food ingredients, ingredient systems, and

finished formulations of plant-based food.

      3.     Founded in 2011, Impossible Foods seeks to restore biodiversity and

reduce the impact of climate change by transforming the global food system. To

do this, it makes delicious, nutritious, affordable, and sustainable meat from

plants. Impossible Foods’ innovative approach to food science, powered by

proprietary research and patent-protected technology, has allowed it to develop

plant-based foods, including the award-winning IMPOSSIBLE BURGER, that

recreates the entire sensory experience of eating meat despite being made from

plants, without any animal meat or animal meat-derived ingredients. Impossible

Foods has invested hundreds of millions of dollars in the research and

development of these market-leading meat alternatives and has secured patents

covering its innovative ingredients, food products and manufacturing processes.

      4.     Defendant has sought to compete with Impossible Foods with

ingredients that make meat alternative products that allegedly taste, smell and feel

like animal meat.

      5.     Impossible Foods brings this action for damages and injunctive relief

to protect its innovative technology and products against Defendant’s patent

infringement.




                                         2
Case 1:22-cv-00311-CFC Document 19 Filed 07/25/22 Page 3 of 33 PageID #: 810




                            NATURE OF THE ACTION

        6.     This is an action for patent infringement under title 35 of the United

States Code.

        7.     As set forth in more detail below, Defendant has been infringing

Impossible Foods’ patents, including at least United States Patent Nos. 9,934,096

(“the ’096 Patent”), 10,039,306 (“the ’306 Patent”), 10,863,761 (“the ’761

Patent”), 11,013,250 (“the ’250 Patent”), and 11,224,241 (“the ’241 Patent”)

(collectively, the “patents-in-suit”), and continues to do so through the present

date.

        8.     Impossible Foods thus seeks injunctive relief against Defendant’s

infringement of its patents, as well as damages for Defendant’s past and ongoing

patent infringement.

                           JURISDICTION AND VENUE

        9.     This Court has subject matter jurisdiction of this suit for patent

infringement pursuant to 28 U.S.C. §§ 1331 and 1338(a).

        10.    This Court has personal jurisdiction over Defendant because

Defendant is incorporated in the State of Delaware.

        11.    Venue is proper in this District under 28 U.S.C. § 1400(b), because

Defendant is incorporated in, and thus resides in, this District.




                                            3
Case 1:22-cv-00311-CFC Document 19 Filed 07/25/22 Page 4 of 33 PageID #: 811




                                    BACKGROUND

    A.         Impossible Foods’ Innovative Technology and Patents

         12.     Founded in 2011 by Dr. Patrick O. Brown, Impossible Foods is a

food innovator and seeks to develop and sell delicious, nutritious, affordable, and

sustainable meat made from plants.

         13.     Early in its history, Impossible Foods assembled a team of scientists

for an ambitious research investigation: determining which biological molecules

make meat look, cook, and taste the way it does. The company discovered that

heme, a biological molecule involved in oxygen transport, is a central component

of meat’s appeal, leading to meat’s savory flavor and aroma and influencing how

meat cooks. Specifically, heme is “the molecule that gives meat its bloody taste

when raw and creates the intense, meaty flavors and aromas when it’s cooked.”1

Impossible Foods set out to make plant-based foods that incorporate heme to

replicate the taste, aroma, and overall sensory experience of meat. The

IMPOSSIBLE Products include heme.

         14.     The heme in the IMPOSSIBLE Products is part of a hemoprotein

molecule called soy leghemoglobin, or LegH. LegH occurs naturally in the root

nodules of soy plants and, on information and belief, is not naturally produced in



1
 https://impossiblefoods.com/blog/how-gmos-can-save-civilization-and-
probably-already-have


                                             4
Case 1:22-cv-00311-CFC Document 19 Filed 07/25/22 Page 5 of 33 PageID #: 812




the body of any animal species. Impossible Foods discovered that the inclusion

of leghemoglobin “transformed what would otherwise have been a dull tasting

veggie burger into [] meat! And the meat cooked, smelled and tasted like meat

from a cow.”2

        15.    LegH can be produced by growing soy plants, harvesting the root

nodules, and isolating the hemoprotein—but Impossible Foods discovered that

this process was too inefficient for commercial production. Impossible Foods

thus developed a proprietary strain of genetically modified Pichia yeast that

produces LegH through a fermentation process.

        16.    Impossible Foods released IMPOSSIBLE BURGER in 2016 and

reformulated it in 2019. IMPOSSIBLE BURGER is a meat replica product that

replicates the flavor and texture of ground beef and can be used as a hamburger

meat replacement for multiple applications. IMPOSSIBLE BURGER has won

numerous awards, including “Best of the Best” at the 2019 Consumer Electronics

Show, and is available in thousands of restaurants and grocery stores nationwide.

        17.    Impossible Foods has applied for, and has been awarded, patents

regarding many elements and aspects of the manufacturing and composition of

heme-containing meat replica products.




2
    https://impossiblefoods.com/blog/heme-health-the-essentials


                                          5
Case 1:22-cv-00311-CFC Document 19 Filed 07/25/22 Page 6 of 33 PageID #: 813




      18.    On April 17, 2018, the United States Patent and Trademark Office

issued U.S. Patent No. 9,943,096 to Impossible Foods, entitled “Methods and

Compositions for Affecting the Flavor and Aroma Profile of Consumables.” A

true and correct copy of the ’096 Patent is attached as Exhibit 1.

      19.    On August 7, 2018, the United States Patent and Trademark Office

issued U.S. Patent No. 10,039,306 to Impossible Foods, entitled “Methods and

Compositions for Consumables.” A true and correct copy of the ’306 Patent is

attached as Exhibit 2.

      20.    On December 15, 2020, the United States Patent and Trademark

Office issued U.S. Patent No. 10,863,761 to Impossible Foods, entitled “Methods

and Compositions for Consumables.” A true and correct copy of the ’761 Patent

is attached as Exhibit 3.

      21.    On May 25, 2021, the United States Patent and Trademark Office

issued U.S. Patent No. 11,013,250 to Impossible Foods, entitled “Methods and

Compositions for Consumables.” A true and correct copy of the ’250 Patent is

attached as Exhibit 4.

      22.    On January 18, 2022, the United States Patent and Trademark Office

issued U.S. Patent No. 11,224,241 to Impossible Foods, entitled “Methods and

Compositions for Affecting the Flavor and Aroma Profile of Consumables.” A

true and correct copy of the ’241 Patent is attached as Exhibit 5.



                                         6
Case 1:22-cv-00311-CFC Document 19 Filed 07/25/22 Page 7 of 33 PageID #: 814




   B.         Defendant’s Product Development

        23.     Defendant spun out of Ginkgo Bioworks Inc. (“Ginkgo Bioworks”),

a genetic engineering company, in early 2019. Ginkgo Bioworks is still a major

investor in Defendant.

        24.     Defendant describes its products as “Meat alternative options that

consumers crave.”

        25.     On its website, Defendant advertises that it sells “individual

ingredients,” “ingredient systems,” and “finished formulations” of “plant-based

food.” Defendant includes pictures of various foods that purportedly replicate the

“taste, texture and appearance” of meat. For instance, Defendant’s website

depicts the following with respect to taste:




                                            7
Case 1:22-cv-00311-CFC Document 19 Filed 07/25/22 Page 8 of 33 PageID #: 815




https://madewithmotif.com/solutions/

      26.   Defendant’s website depicts the following with respect to texture:




https://madewithmotif.com/solutions/




                                       8
Case 1:22-cv-00311-CFC Document 19 Filed 07/25/22 Page 9 of 33 PageID #: 816




        27.   Defendant’s website depicts the following with respect to

appearance:




https://madewithmotif.com/solutions/

        28.   Defendant markets meat alternatives that include the ingredient

HEMAMI, which purportedly provides “meat alternatives” with “[t]he real

umami flavors, appearance and aromas of meat.”3 Its website notes that

HEMAMI “tastes and smells like meat because it uses the same naturally




   3
       https://madewithmotif.com/solutions/



                                         9
Case 1:22-cv-00311-CFC Document 19 Filed 07/25/22 Page 10 of 33 PageID #: 817




occurring heme protein” and bestows “[m]outh-watering aromas that engage the

senses—while cooked and right before you take your first bite.”4

        29.     As Defendant’s website notes, HEMAMI contains heme.

        30.     In an April 2021 submission to the Food and Drug Administration

(FDA) Office of Food Additive Safety (hereinafter “the Motif GRAS Notice”),

Defendant stated that “Motif FoodWorks’ myoglobin ingredient is a liquid

flavoring preparation (herein referred to as Myoglobin Preparation) containing

myoglobin produced by fermentation from a modified strain of Pichia pastoris

expressing the myoglobin gene from Bos taurus.” A true and correct copy of the

Motif GRAS Notice is attached as Exhibit 6.

        31.     On information and belief, HEMAMI contains the bovine myoglobin

preparation that is the subject of the Motif GRAS Notice.

   C.         Defendant’s Infringing Products and Activities

        32.     Defendant has made and demonstrated a meat replica at trade shows,

including the Plant Based World Expo in New York in December 2021.

Defendant has since demonstrated its meat replica at Natural Products Expo West

in Anaheim, California in March 2022; the Future Food-Tech Expo in San

Francisco, California in March 2022; and the National Restaurant Association



   4
       https://madewithmotif.com/solutions/



                                          10
Case 1:22-cv-00311-CFC Document 19 Filed 07/25/22 Page 11 of 33 PageID #: 818




Show in Chicago, Illinois in May 2022. The meat replica that Defendant

demonstrated infringes the patents-in-suit.

      33.       Defendant’s meat replica includes its HEMAMI ingredient.

      34.       In the summer of 2021, Defendant partnered with Coolgreens, a

restaurant chain with a location in Dallas, TX, to produce and sell meat replica

products containing HEMAMI. Defendant and Coolgreens sold infringing

products from Coolgreens’ Dallas restaurant.

      35.       Defendant notes on its website that its Motif BeefWorksTM Plant-

Based Burger Patties are “Available now.” Defendant also describes the

infringing burgers it sold from Coolgreens’ Dallas restaurant as “Motif

BeefWorksTM Plant-Based Burger Patties.”

      36.       On information and belief, Defendant has had opportunities to obtain

non-public information regarding Impossible Foods’ proprietary yeast and

methods of making its proprietary heme-containing protein.

      37.       Defendant recently launched HEMAMI for sale to customers with

intent that customers integrate HEMAMI into their own plant-based meat

alternatives.

      38.       Defendant is currently constructing a research, development, and

production facility in Massachusetts that it intends to use for fermentation,

ingredient production, and finished product production, including, on information



                                          11
Case 1:22-cv-00311-CFC Document 19 Filed 07/25/22 Page 12 of 33 PageID #: 819




and belief, manufacturing the heme-containing bovine myoglobin included in

HEMAMI, production of HEMAMI, and production of finished meat replica

products integrating HEMAMI. Defendant plans for the facility to be fully online

this year.

      39.    Solar Biotech, which has a facility in Virginia that has been used to

manufacture HEMAMI, also announced, on January 28, 2022, that it would

continue to manufacture HEMAMI for Defendant.

      40.    On information and belief, the finished meat replica products that

include HEMAMI (the “Infringing Products”) and which Defendant has sold,

offered for sale, and/or demonstrated for marketing purposes, including but not

limited to the Motif BeefWorksTM burger and sausage, infringe, contain infringing

ingredients, and/or are made by the use of processes that infringe, one or more of

the patents-in-suit.

      41.    Defendant is and has been aware that the inclusion of HEMAMI in

meat replica products is a violation of Impossible Foods’ patent rights and has

touted HEMAMI as a substitute for Impossible Foods’ patented technology in its

marketing communications.

      42.    For example, Defendant’s official Twitter account,

@motiffoodworks, retweeted a link to an article in The Spoon, a food technology

trade publication, from February 7, 2022. That article stated that the launch of



                                        12
Case 1:22-cv-00311-CFC Document 19 Filed 07/25/22 Page 13 of 33 PageID #: 820




HEMAMI “is good news if you’re a maker of alt-meat products who wants to

replicate Impossible’s proprietary plant-based heme, because now instead of

spending tens of millions trying to build it yourself, now you can buy a similar

technology from Motif.”5

      43.    As another example, Defendant’s CEO, Jonathan McIntyre, provided

a quote pertaining to Defendant’s new Massachusetts facility that was included in

a December 8, 2021 article in Vegconomist, a vegan industry trade publication.

That article noted that “heme represented Impossible Foods’ most closely-

guarded flavor secret, and the $2 billion company held exclusive patent rights and

knowledge on producing and commercializing it.”6

      44.    In addition, Ginkgo Bioworks’ CEO, in an article announcing a

round of fundraising completed by Defendant, described Defendant’s strategy as

follows: “We’ll brew up the next 100 hemes so that we can see many more

Impossible Burgers in the next few years.”7

            COUNT I: INFRINGEMENT OF THE ’096 PATENT

      45.    Impossible Foods incorporates and re-alleges ¶¶ 1-44 as though fully

stated herein.


5

https://twitter.com/RethinkFoodVC/status/1490690290147078145?s=20&t=DD9
WjVymcPhHCw3z0SpqUA
6
  https://vegconomist.com/products-launches/motif-foodworks-heme/
7
  https://www.inc.com/jeff-bercovici/motif-food-biotech.html


                                        13
Case 1:22-cv-00311-CFC Document 19 Filed 07/25/22 Page 14 of 33 PageID #: 821




      46.    Impossible Foods is the owner of all right, title, and interest in and to

the ’096 Patent. Impossible Foods has the exclusive right to make, use, sell, and

offer to sell any product embodying the ’096 Patent throughout the United States,

and to import any product embodying the ’096 Patent into the United States.

      47.    The ’096 Patent claims and describes an invention comprising a food

flavor additive composition, comprising an isolated heme-containing protein, a

compound selected from a list of sugar compounds, and a compound selected

from a list of sulfur-containing compounds, wherein the flavor additive

composition contains no animal products and wherein cooking the food flavor

additive composition results in the production of at least two volatile compounds

which have a meat-associated aroma.

      48.    On information and belief, Defendant has been and is now infringing

at least claim 1 of the ’096 Patent in the United States by, among other things,

directly or through intermediaries, making, using, selling, and/or offering for sale

the Infringing Products, which are covered by one or more claims of the ’096

Patent, to the injury of Impossible Foods. In particular, the Infringing Products

comprise a food flavor additive composition, comprising an isolated heme-

containing protein, a compound selected from the list of sugar compounds in

claim 1 of the ’096 Patent , and a compound selected from the list of sulfur-

containing compounds in claim 1 of the ’096 Patent, wherein the flavor additive



                                         14
Case 1:22-cv-00311-CFC Document 19 Filed 07/25/22 Page 15 of 33 PageID #: 822




composition contains no animal products and wherein cooking the food flavor

additive composition results in the production of at least two volatile compounds

which have a meat-associated aroma.

      49.    Defendant is directly infringing, literally and/or under the doctrine of

equivalents, the ’096 Patent. Defendant is thus liable for infringement of the ’096

Patent pursuant to 35 U.S.C. § 271(a).

      50.    Defendant infringes the ’096 Patent because it makes, uses, sells

and/or offers for sale the invention of the ’096 Patent. In particular, Defendant

infringes at least claim 1 of the ’096 Patent by making, using, selling and/or

offering for sale HEMAMI and/or the Infringing Products.

      51.    On information and belief, Defendant will continue to infringe the

’096 Patent unless enjoined.

      52.    Defendant contributes to infringement of the ’096 Patent under 35

U.S.C. § 271(c) inasmuch as it provides a component of the Infringing Products,

e.g., HEMAMI, which constitutes a material part of Impossible Foods’ invention,

to another, knowing the same to be especially made or especially adapted for use

in infringement of the ’096 Patent.

      53.    On information and belief, Defendant will continue to contribute to

infringement of the ’096 Patent unless enjoined.




                                         15
Case 1:22-cv-00311-CFC Document 19 Filed 07/25/22 Page 16 of 33 PageID #: 823




      54.    Defendant actively encourages its business partners to make, use,

sell, and/or offer for sale the Infringing Products. Defendant is aware of

Impossible Foods’ proprietary IMPOSSIBLE BURGER. Moreover, Defendant is

aware of the ’096 Patent. Despite such knowledge, Defendant has actively

induced its business partners to make, use, sell, and/or offer for sale the Infringing

Products in a way that constitutes infringement. Defendant has encouraged this

infringement with a specific intent to cause its business partners and customers to

infringe. Defendant’s acts thus constitute active inducement of patent

infringement in violation of 35 U.S.C. § 271(b).

      55.    On information and belief, Defendant will continue to induce

infringement of the ’096 Patent unless enjoined.

      56.    Defendant’s direct infringement, contributory infringement, and

inducement of infringement have irreparably harmed Impossible Foods.

      57.    Pursuant to 35 U.S.C. § 284, Impossible Foods is entitled to damages

adequate to compensate for Defendant’s infringement.

      58.    Defendant’s infringement has been and is willful and, pursuant to 35

U.S.C. § 284, Impossible Foods is entitled to treble damages. Defendant’s willful

infringement is based at least on Defendant’s knowledge of Impossible Foods, its

manufacturing techniques, its products, and its patents (see, e.g., ¶¶ 26, 36-39,

supra). Defendant’s conduct is egregious as it has continued offering, selling,



                                         16
Case 1:22-cv-00311-CFC Document 19 Filed 07/25/22 Page 17 of 33 PageID #: 824




making and/or using the Infringing Products despite knowledge of the

infringement. Defendant has either willfully and wantonly infringed the ’096

Patent or has recklessly avoided knowledge of its own infringement, even when

faced with knowledge of Impossible Foods’ own products and patents.

            COUNT II: INFRINGEMENT OF THE ’306 PATENT

      59.    Impossible Foods incorporates and re-alleges ¶¶ 1-58 as though fully

stated herein.

      60.    Impossible Foods is the owner of all right, title, and interest in and to

the ’306 Patent. Impossible Foods has the exclusive right to make, use, sell, and

offer to sell any product made by the method of the ’306 Patent throughout the

United States, and to import any product made by the invention of the ’306 Patent

into the United States.

      61.    The ’306 Patent claims and describes an invention comprising a

method for imparting a beef-like aroma to a meat replica matrix, wherein the

meat replica matrix comprises one or more plant proteins, a sugar selected from a

list of sugar compounds, and a sulfur-containing compound selected from a list of

sulfur-containing compounds, where the method comprises adding 0.01%-5% (by

weight of the meat replica matrix) of a non-animal heme-containing protein to the

meat replica matrix, wherein, upon cooking of the meat replica matrix, at least




                                         17
Case 1:22-cv-00311-CFC Document 19 Filed 07/25/22 Page 18 of 33 PageID #: 825




two volatile compounds are generated that are associated with a beef-like aroma,

thereby imparting a beef-like aroma to the meat replica matrix.

      62.    On information and belief, Defendant has been and is now infringing

at least claim 1 of the ’306 Patent in the United States by, among other things,

directly or through intermediaries, using the invention of the’306 Patent to make

the Infringing Products, to the injury of Impossible Foods. In particular, the

Infringing Products are made by a process comprising a method for imparting a

beef-like aroma to a meat replica matrix, wherein the meat replica matrix

comprises one or more plant proteins, a sugar selected from the list of sugar

compounds in claim 1 of the ’306 Patent , and a sulfur-containing compound

selected from the list of sulfur-containing compounds in claim 1 of the ’306

Patent, where the method comprises adding 0.01%-5% (by weight of the meat

replica matrix) of a non-animal heme-containing protein to the meat replica

matrix, wherein, upon cooking of the meat replica matrix, at least two volatile

compounds are generated that are associated with a beef-like aroma, thereby

imparting a beef-like aroma to the meat replica matrix.

      63.    Defendant is directly infringing, literally and/or under the doctrine of

equivalents, the ’306 Patent. Defendant is thus liable for infringement of the ’306

Patent pursuant to 35 U.S.C. § 271(a).




                                         18
Case 1:22-cv-00311-CFC Document 19 Filed 07/25/22 Page 19 of 33 PageID #: 826




      64.    Defendant infringes the ’306 Patent because it uses the invention of

the ’306 Patent. In particular, Defendant infringes at least claim 1 of the ’306

Patent by making the Infringing Products.

      65.    On information and belief, Defendant will continue to infringe the

’306 Patent unless enjoined.

      66.    Defendant contributes to infringement of the ’306 Patent under 35

U.S.C. § 271(c) inasmuch as it provides a component of the Infringing Products,

e.g., HEMAMI, which constitutes a material part of Impossible Foods’ invention,

to another, knowing the same to be especially made or especially adapted for use

in infringement of the ’306 Patent.

      67.    On information and belief, Defendant will continue to contribute to

infringement of the ’306 Patent unless enjoined.

      68.    Defendant actively encourages its business partners to make, use,

sell, and/or offer for sale the Infringing Products. Defendant is aware of

Impossible Foods’ proprietary IMPOSSIBLE BURGER. Moreover, Defendant is

aware of the ’306 Patent. Despite such knowledge, Defendant has actively

induced its business partners to make, use, sell, and/or offer for sale the Infringing

Products in a way that constitutes infringement. Defendant has encouraged this

infringement with a specific intent to cause its business partners and customers to




                                         19
Case 1:22-cv-00311-CFC Document 19 Filed 07/25/22 Page 20 of 33 PageID #: 827




infringe. Defendant’s acts thus constitute active inducement of patent

infringement in violation of 35 U.S.C. § 271(b).

      69.    On information and belief, Defendant will continue to induce

infringement of the ’306 Patent unless enjoined.

      70.    Defendant’s direct infringement, contributory infringement, and

inducement of infringement have irreparably harmed Impossible Foods.

      71.    Pursuant to 35 U.S.C. § 284, Impossible Foods is entitled to damages

adequate to compensate for Defendant’s infringement.

      72.    Defendant’s infringement has been and is willful and, pursuant to 35

U.S.C. § 284, Impossible Foods is entitled to treble damages. Defendant’s willful

infringement is based at least on Defendant’s knowledge of Impossible Foods, its

manufacturing techniques, its products, and its patents (see, e.g., ¶¶ 26, 36-39,

supra). Defendant’s conduct is egregious as it has continued offering, selling,

making and/or using the Infringing Products despite knowledge of the

infringement. Defendant has either willfully and wantonly infringed the ’306

Patent or has recklessly avoided knowledge of its own infringement, even when

faced with knowledge of Impossible Foods’ own products and patents.

      73.    This case is “exceptional” within the meaning of 35 U.S.C. § 285,

and Impossible Foods is entitled to an award of attorneys’ fees.




                                         20
Case 1:22-cv-00311-CFC Document 19 Filed 07/25/22 Page 21 of 33 PageID #: 828




            COUNT III: INFRINGEMENT OF THE ’761 PATENT

      74.    Impossible Foods incorporates and re-alleges ¶¶ 1-73 as though fully

stated herein.

      75.    Impossible Foods is the owner of all right, title, and interest in and to

the ’761 Patent. Impossible Foods has the exclusive right to make, use, sell, and

offer to sell any product embodying the ’761 Patent throughout the United States,

and to import any product embodying the ’761 Patent into the United States.

      76.    The ’761 Patent claims and describes an invention comprising a beef

replica product, which comprises a) a muscle replica comprising 0.1%-5% of a

heme-containing protein, at least one sugar compound and at least one sulfur

compound; and b) a fat tissue replica comprising at least one plant oil and a

denatured plant protein, wherein said muscle replica and fat tissue replica are

assembled in a manner that approximates the physical organization of meat.

      77.    On information and belief, Defendant has been and is now infringing

at least claim 1 of the ’761 Patent in the United States by, among other things,

directly or through intermediaries, making, using, selling, and/or offering for sale

the Infringing Products, which are covered by one or more claims of the ’761

Patent, to the injury of Impossible Foods. In particular, the Infringing Products

comprise a beef replica product comprising a) a muscle replica comprising 0.1%-

5% of a heme-containing protein, at least one sugar compound and at least one



                                         21
Case 1:22-cv-00311-CFC Document 19 Filed 07/25/22 Page 22 of 33 PageID #: 829




sulfur compound; and b) a fat tissue replica comprising at least one plant oil and a

denatured plant protein, wherein said muscle replica and fat tissue replica are

assembled in a manner that approximates the physical organization of meat.

      78.    Defendant is directly infringing, literally and/or under the doctrine of

equivalents, the ’761 Patent. Defendant is thus liable for infringement of the ’761

Patent pursuant to 35 U.S.C. § 271(a).

      79.    Defendant infringes the ’761 Patent because it makes, uses, sells

and/or offers for sale the invention of the ’761 Patent. In particular, Defendant

infringes at least claim 1 of the ’761 Patent by making, using, selling and/or

offering for sale the Infringing Products.

      80.    On information and belief, Defendant will continue to infringe the

’761 Patent unless enjoined.

      81.    Defendant contributes to infringement of the ’761 Patent under 35

U.S.C. § 271(c) inasmuch as it provides a component of the Infringing Products,

e.g., HEMAMI, which constitutes a material part of Impossible Foods’ invention,

to another, knowing the same to be especially made or especially adapted for use

in infringement of the ’761 Patent.

      82.    On information and belief, Defendant will continue to contribute to

infringement of the ’761 Patent unless enjoined.




                                         22
Case 1:22-cv-00311-CFC Document 19 Filed 07/25/22 Page 23 of 33 PageID #: 830




      83.    Defendant actively encourages its business partners to make, use,

sell, and/or offer for sale the Infringing Products. Defendant is aware of

Impossible Foods’ proprietary IMPOSSIBLE BURGER. Moreover, Defendant is

aware of the ’761 Patent. Despite such knowledge, Defendant has actively

induced its business partners to make, use, sell, and/or offer for sale the Infringing

Products in a way that constitutes infringement. Defendant has encouraged this

infringement with a specific intent to cause its business partners and customers to

infringe. Defendant’s acts thus constitute active inducement of patent

infringement in violation of 35 U.S.C. § 271(b).

      84.    On information and belief, Defendant will continue to induce

infringement of the ’761 Patent unless enjoined.

      85.    Defendant’s direct infringement, contributory infringement, and

inducement of infringement have irreparably harmed Impossible Foods.

      86.    Pursuant to 35 U.S.C. § 284, Impossible Foods is entitled to damages

adequate to compensate for Defendant’s infringement.

      87.    Defendant’s infringement has been and is willful and, pursuant to 35

U.S.C. § 284, Impossible Foods is entitled to treble damages. Defendant’s willful

infringement is based at least on Defendant’s knowledge of Impossible Foods, its

manufacturing techniques, its products, and its patents (see, e.g., ¶¶ 26, 36-39,

supra). Moreover, Defendant has had actual knowledge of its infringement of the



                                         23
Case 1:22-cv-00311-CFC Document 19 Filed 07/25/22 Page 24 of 33 PageID #: 831




’761 Patent at least since the filing of Impossible Foods’ original Complaint.

Defendant’s conduct is egregious as it has continued offering, selling, making

and/or using the Infringing Products despite knowledge of the infringement.

Defendant has either willfully and wantonly infringed the ’761 Patent or has

recklessly avoided knowledge of its own infringement, even when faced with

knowledge of Impossible Foods’ own products and patents.

      88.    This case is “exceptional” within the meaning of 35 U.S.C. § 285,

and Impossible Foods is entitled to an award of attorneys’ fees.

            COUNT IV: INFRINGEMENT OF THE ’250 PATENT

      89.    Impossible Foods incorporates and re-alleges ¶¶ 1-88 as though fully

stated herein.

      90.    Impossible Foods is the owner of all right, title, and interest in and to

the ’250 Patent. Impossible Foods has the exclusive right to make, use, sell, and

offer to sell any product embodying the ’250 Patent throughout the United States,

and to import any product embodying the ’250 Patent into the United States.

      91.    The ’250 Patent claims and describes an invention comprising a meat

replica matrix comprising one or more plant proteins, a sugar selected from a list

of sugars, at least one sulfur compound selected from a list of sulfur compounds,

and 0.01%-5% (by weight of the meat replica matrix) of a non-animal heme-




                                         24
Case 1:22-cv-00311-CFC Document 19 Filed 07/25/22 Page 25 of 33 PageID #: 832




containing protein, wherein, upon cooking of the meat replica matrix, at least two

volatile compounds are generated that are associated with a beef-like aroma.

      92.    On information and belief, Defendant has been and is now infringing

at least claim 1 of the ’250 Patent in the United States by, among other things,

directly or through intermediaries, making, using, selling, and/or offering for sale

the Infringing Products, which are covered by one or more claims of the ’250

Patent, to the injury of Impossible Foods. In particular, the Infringing Products

comprise a meat replica matrix comprising one or more plant proteins, a sugar

selected from the list of sugars in claim 1 of the ’250 Patent, at least one sulfur

compound selected from the list of sulfur compounds in claim 1 of the ’250

Patent, and 0.01%-5% (by weight of the meat replica matrix) of a non-animal

heme-containing protein, wherein, upon cooking of the meat replica matrix, at

least two volatile compounds are generated that are associated with a beef-like

aroma.

      93.    Defendant is directly infringing, literally and/or under the doctrine of

equivalents, the ’250 Patent. Defendant is thus liable for infringement of the ’250

Patent pursuant to 35 U.S.C. § 271(a).

      94.    Defendant infringes the ’250 Patent because it makes, uses, sells

and/or offers for sale the invention of the ’250 Patent. In particular, Defendant




                                          25
Case 1:22-cv-00311-CFC Document 19 Filed 07/25/22 Page 26 of 33 PageID #: 833




infringes at least claim 1 of the ’250 Patent by making, using, selling and/or

offering for sale the Infringing Products.

      95.    On information and belief, Defendant will continue to infringe the

’250 Patent unless enjoined.

      96.    Defendant contributes to infringement of the ’250 Patent under 35

U.S.C. § 271(c) inasmuch as it provides a component of the Infringing Products,

e.g., HEMAMI, which constitutes a material part of Impossible Foods’ invention,

to another, knowing the same to be especially made or especially adapted for use

in infringement of the ’250 Patent.

      97.    On information and belief, Defendant will continue to contribute to

infringement of the ’250 Patent unless enjoined.

      98.    Defendant actively encourages its business partners to make, use,

sell, and/or offer for sale the Infringing Products. Defendant is aware of

Impossible Foods’ proprietary IMPOSSIBLE BURGER. Moreover, Defendant is

aware of the ’250 Patent. Despite such knowledge, Defendant has actively

induced its business partners to make, use, sell, and/or offer for sale the Infringing

Products in a way that constitutes infringement. Defendant has encouraged this

infringement with a specific intent to cause its business partners and customers to

infringe. Defendant’s acts thus constitute active inducement of patent

infringement in violation of 35 U.S.C. § 271(b).



                                         26
Case 1:22-cv-00311-CFC Document 19 Filed 07/25/22 Page 27 of 33 PageID #: 834




      99.    On information and belief, Defendant will continue to induce

infringement of the ’250 Patent unless enjoined.

      100. Defendant’s direct infringement, contributory infringement, and

inducement of infringement have irreparably harmed Impossible Foods.

      101. Pursuant to 35 U.S.C. § 284, Impossible Foods is entitled to damages

adequate to compensate for Defendant’s infringement.

      102. Defendant’s infringement has been and is willful and, pursuant to 35

U.S.C. § 284, Impossible Foods is entitled to treble damages. Defendant’s willful

infringement is based at least on Defendant’s knowledge of Impossible Foods, its

manufacturing techniques, its products, and its patents (see, e.g., ¶¶ 26, 36-39,

supra). Defendant’s conduct is egregious as it has continued offering, selling,

making and/or using the Infringing Products despite knowledge of the

infringement. Defendant has either willfully and wantonly infringed the ’250

Patent or has recklessly avoided knowledge of its own infringement, even when

faced with knowledge of Impossible Foods’ own products and patents.

      103. This case is “exceptional” within the meaning of 35 U.S.C. § 285,

and Impossible Foods is entitled to an award of attorneys’ fees.

            COUNT V: INFRINGEMENT OF THE ’241 PATENT

      104. Impossible Foods incorporates and re-alleges ¶¶ 1-103 as though

fully stated herein.



                                         27
Case 1:22-cv-00311-CFC Document 19 Filed 07/25/22 Page 28 of 33 PageID #: 835




      105. Impossible Foods is the owner of all right, title, and interest in and to

the ’241 Patent. Impossible Foods has the exclusive right to make, use, sell, and

offer to sell any product embodying the ’241 Patent throughout the United States,

and to import any product embodying the ’241 Patent into the United States.

      106. The ’241 Patent claims and describes an invention comprising a

meat-like food product produced by a method comprising: providing one or more

plant proteins, and combining, with the one or more plant proteins, a heme-

containing protein, one or more of a list of sugars, and one or more of a list of

sulfur-containing compounds; wherein the meat-like food product is free of

animal heme-containing protein, wherein cooking the meat-like-food-product

results in the production of at least two volatile compounds which have a meat-

associated aroma, and wherein the meat-like food product is in a form selected

from the group consisting of a hotdog, a burger, ground meat, a sausage, a steak,

a filet, a roast, a meatball, a meatloaf, or bacon.

      107. On information and belief, Defendant has been and is now infringing

at least claim 22 of the ’241 Patent in the United States by, among other things,

directly or through intermediaries, making, using, selling, and/or offering for sale

the Infringing Products, which are covered by one or more claims of the ’241

Patent, to the injury of Impossible Foods. In particular, the Infringing Products

comprise a meat-like product food produced by a method comprising: providing



                                           28
Case 1:22-cv-00311-CFC Document 19 Filed 07/25/22 Page 29 of 33 PageID #: 836




one or more plant proteins, and combining, with the one or more plant proteins, a

heme-containing protein, one or more of the list of sugars in claim 22 of the ’241

Patent, and one or more of the list of sulfur-containing compounds in claim 22 of

the ’241 Patent; wherein the meat-like food product is free of animal heme-

containing protein, wherein cooking the meat-like-food-product results in the

production of at least two volatile compounds which have a meat-associated

aroma, and wherein the meat-like food product is in a form selected from the

group consisting of a hotdog, a burger, ground meat, a sausage, a steak, a filet, a

roast, a meatball, a meatloaf, or bacon.

      108. Defendant is directly infringing, literally and/or under the doctrine of

equivalents, the ’241 Patent. Defendant is thus liable for infringement of the ’241

Patent pursuant to 35 U.S.C. § 271(a).

      109. Defendant infringes the ’241 Patent because it makes, uses, sells

and/or offers for sale the invention of the ’241 Patent. In particular, Defendant

infringes at least claim 22 of the ’241 Patent by making, using, selling and/or

offering for sale the Infringing Products.

      110. On information and belief, Defendant will continue to infringe the

’241 Patent unless enjoined.

      111. Defendant contributes to infringement of the ’241 Patent under 35

U.S.C. § 271(c) inasmuch as it provides a component of the Infringing Products,



                                           29
Case 1:22-cv-00311-CFC Document 19 Filed 07/25/22 Page 30 of 33 PageID #: 837




e.g., HEMAMI, which constitutes a material part of Impossible Foods’ invention,

to another, knowing the same to be especially made or especially adapted for use

in infringement of the ’241 Patent.

      112. On information and belief, Defendant will continue to contribute to

infringement of the ’241 Patent unless enjoined.

      113. Defendant actively encourages its business partners to make, use,

sell, and/or offer for sale the Infringing Products. Defendant is aware of

Impossible Foods’ proprietary IMPOSSIBLE BURGER. Moreover, Defendant is

aware of the ’241 Patent. Despite such knowledge, Defendant has actively

induced its business partners to make, use, sell, and/or offer for sale the Infringing

Products in a way that constitutes infringement. Defendant has encouraged this

infringement with a specific intent to cause its business partners and customers to

infringe. Defendant’s acts thus constitute active inducement of patent

infringement in violation of 35 U.S.C. § 271(b).

      114. On information and belief, Defendant will continue to induce

infringement of the ’241 Patent unless enjoined.

      115. Defendant’s direct infringement, contributory infringement, and

inducement of infringement have irreparably harmed Impossible Foods.

      116. Pursuant to 35 U.S.C. § 284, Impossible Foods is entitled to damages

adequate to compensate for Defendant’s infringement.



                                         30
Case 1:22-cv-00311-CFC Document 19 Filed 07/25/22 Page 31 of 33 PageID #: 838




       117. Defendant’s infringement has been and is willful and, pursuant to 35

U.S.C. § 284, Impossible Foods is entitled to treble damages. Defendant’s willful

infringement is based at least on Defendant’s knowledge of Impossible Foods, its

manufacturing techniques, its products, and its patents (see, e.g., ¶¶ 26, 36-39,

supra). Defendant’s conduct is egregious as it has continued offering, selling,

making and/or using the Infringing Products despite knowledge of the

infringement. Defendant has either willfully and wantonly infringed the ’241

Patent or has recklessly avoided knowledge of its own infringement, even when

faced with knowledge of Impossible Foods’ own products and patents.

       118. This case is “exceptional” within the meaning of 35 U.S.C. § 285,

and Impossible Foods is entitled to an award of attorneys’ fees.

                         DEMAND FOR A JURY TRIAL

       Impossible Foods demands a jury trial on all issues so triable.

                             PRAYER FOR RELIEF

       WHEREFORE, Impossible Foods demands judgment as follows:

       a.    Judgment that Defendant has infringed and is infringing the patents-

in-suit;

       b.    That Impossible Foods be granted injunctive relief against Defendant

and its officers, employees, agents, servants, attorneys, instrumentalities, and/or

those in privity with them, to prevent the recurrence of the infringing activities



                                         31
Case 1:22-cv-00311-CFC Document 19 Filed 07/25/22 Page 32 of 33 PageID #: 839




complained of herein, including ceasing manufacture, use, sale, offering for sale,

and importation of the Infringing Products, ceasing contribution to and/or

inducement of others to do the same, and for all further proper injunctive relief

pursuant to 35 U.S.C. § 283;

      c.     Judgment that Defendant account for and pay to Impossible Foods

all damages and costs incurred by Impossible Foods, caused by Defendant’s

infringing activities complained of herein;

      d.     Judgment that Defendant has willfully infringed the patents-in-suit

and an increase in the damages award to Impossible Foods up to three times the

amount assessed, pursuant to 35 U.S.C. § 284;

      e.     That Impossible Foods be granted pre- and post-judgment interest on

the damages;

      f.     That this Court declare this case exceptional and award Impossible

Foods reasonable attorneys’ fees and costs in accordance with 35 U.S.C. § 285;

and

      g.     That Impossible Foods be granted such other and further relief as the

Court may deem just and proper under the circumstances.




                                         32
Case 1:22-cv-00311-CFC Document 19 Filed 07/25/22 Page 33 of 33 PageID #: 840



                                         WILSON SONSINI GOODRICH & ROSATI, P.C.
OF COUNSEL:                               /s/ Ian R. Liston
                                         Ian R. Liston (#5507)
Matthew R. Reed                          Jennifer A. Ward (#6476)
WILSON SONSINI GOODRICH & ROSATI,        222 Delaware Avenue, Suite 800
P.C.                                     Wilmington, DE 19801
650 Page Mill Road                       (302) 304-7600
Palo Alto, CA 94304                      iliston@wsgr.com
(650) 493-9300                           jward@wsgr.com
mreed@wsgr.com
                                         Counsel for Plaintiff Impossible Foods Inc.
Wendy L. Devine
WILSON SONSINI GOODRICH & ROSATI,
P.C.
One Market Plaza
Spear Tower, Suite 3300
San Francisco, CA 94105
(415) 947-2000
wdevine@wsgr.com
Lori P. Westin
Christiana Garrett
WILSON SONSINI GOODRICH & ROSATI,
P.C.
12235 El Camino Real
San Diego, CA 92130
(858) 350-2300
lwestin@wsgr.com
cgarrett@wsgr.com
G. Edward Powell III
WILSON SONSINI GOODRICH & ROSATI,
P.C.
1700 K Street NW, Fifth Floor
Washington, DC 20006
(202) 973-8800
epowell@wsgr.com

Dated: July 22, 2022




                                    33
